This is an appeal by the public administrator of San Joaquin County from an order of the superior court of San Joaquin County denying his petition for letters of administration in the estate of Ellen Roach Whalen. It differs from the matter of Estate ofHorman (Sac. No. 2131), ante, p. 473, [140 P. 11], this day decided, only in the fact that Mrs. Whalen was the sister of George Roach, deceased, while Mrs. Horman was his niece, and in the circumstance that Mrs. Whalen died before her heirs began the proceeding to establish their interest in their uncle's estate. There is no difference in principle between the two cases. Therefore upon the authority of Estate of Horman, we affirm the order from which the appeal was prosecuted. *Page 798 